         Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 1 of 14 Pageid#: 14034
#.
                                                                                                         CLERK'S OFFICE U,S. DIST. COURT
                                                                                                                AT ROANOKE, VA
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     A0 243(Rev.01/15)                                                                                                            Page2
                           MOTION UNDER 28U.S.C.j2255TO VACATE,SET ASIDE,OR CORRECT                                   4/23/2020

                                         SENTENCE BY A PERSON IN FEDERAL CUSTODY                              JULIA C. DUDLEY, CLERK
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     UNITED STATES OF AM ERICA                                                M ovant'(includentm2E'underbvhichcoar/c/z
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                                                                M OTION

              (a)Na
                 tlmeandlocationofcourtwhijlenteredthejudgmentofconvictionyouarechallenging:
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             (a)Dateofthejudgl
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                                          on(ifyouknow):ôm
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             uengthofsentence:tt$ fnôn .
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        4. Natureofcrime(allcotlnts)::1:$ Lltp a.qd q tjj(.6) (j)(p.
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        5. (a)Whatwasyourplea? (Checkone)
               (1) Notguilty              (2) Guilty                                  (3) Nolocontendere(1
                                                                                                         40contest)

             (b)Ifyouenteredaguiltypleatooltecountoriadictment,andanotguiltypleatoanothercotlntor
             whatdidyouplead guilty to and whatdidyou plead notguilty to?




        6. Ifyouwenttotrial,whatkindoftrialdidyouhave? (Checkone)
             Did youtestify atapretrialhearing,trial,orpost-trialhearing?           Yes
                                                                                                             NoH
        8. Didyouappealfrom thejudgmentofconviction?                   Yes                   No
     Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 2 of 14 Pageid#: 14035

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         lfyoudid appeal,answerthefollowing:
         (a) Nameofcourt:              -                       -                                  --
         (b) Docketorcasenumber(ifyouknow):
         (c) Result:      -        -- -                       -
         (d) Dateofresult(ifyouknow):
         (e)Citationtothecase'
                             tifyot!know):                                            '
         (9 Groundsraised:




         (g)DidyoufileapetitionforcertiorariintheUnitedStatesSupremeCourt?      Yes             No
              lf1CYes,''answerthefollowing:
              (1)Docketorcasenumber(ifyotlknow):


              (3)Dateofrestllt(ifyouknow):
              (4)Citationtothecase(ifyouknowl:
              (5)Groundsraised:




         Otherthanthedirectappealslistedabove,haveyoupreviouslyGledany othermotions,petitions,orapplications,
         concernin thisjud mentofconvictioninanycourt?
          Yes         No

         Ifyouranswerto Question 10was$:Yes,''givethefollowing information:
         (a) (1)Nameofcourt:
             (2)Docketorcasenumber(ifyouknow):
             (3)Dateoffiling (ifyouknow):
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            (6) Didyoureceiveahearingwhereevidencewasgivenonyotlrmotion,petition,orapplication?
                    Yes          No
           (7) Result:
           (8) Dateofresult(ifyouknow):
        (b) Ifyoufiledanysecondmotion,petition,orapplication,givethesameinformation:
           (1) Nameofcourt:
           (2) Docketofcasenumber(ifyouknow):
           (3) Dateoffiling(ifyotlknow):
           (4) Natureoftheproceeding:
           (5) Groundsraised:




            (6) Didyoureceiveahearingwhereevidencewasgivenonyotlrmotion,petition,orapplication?
                    Yes          No
            (7) Result:
            (8) Dateofresult(ifyouknow):
        (c) Didyouappealtoafederalappellatecourthavingjurisdictionovertheactiontakenonyourmotion,petition,
        orapplication?
           (1) Firstpetition:      Yes         No
           (2) Second petition:    Yes         No
        (d)Ifyoudidnotappealfrom theactiononany motion,petition,orapplication,explainbrieflywhyyoudidnot;




        Forthismotion,stateevery ground on which you claim thatyouare being held in violation oftheConstitution,
        laws,ortreatiesofthe United States.Attach additionalpagesifyou havemorethanfourgrounds. Statethe facts
        supporting each ground.
  Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 4 of 14 Pageid#: 14037


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                 Ifyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
                    Yes          No
             (2) lfyoudidnotraisethisissueinyotlrdirectappeal,explainwhy:



       (c) Post-conviction Proceedings:
           (l) Didyouraisethisissueinany post-convictionmotion,petition,orapplication?
                    Yes          No
             (2) IfyouanswertoQuestion(c)(1)ist1Yes,''state:
             Typeofmotion orpetition:
             Nameand location ofthecourtwherethemotion orpetition wasGled:


             Docketorcasenumber(ifyouknowl:
             Dateofthecourt'sdecision:
             Result(attachacopyofthecourt'sopinionororder,ifavailablel:


             (3) Didyoureceiveahearing onyourmotion,petition,orapplication?
                    Yes          No
             (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                    Yes          No
             (5) IfyouranswertoQuestion(c)(4)is1;Yes,''didyouraisetheissuein theappeal?
                    Y es         No
     Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 5 of 14 Pageid#: 14038


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            (6) IfyouranswertoQuestion(c)(4)is'$Yes,''state:
            Nameand location ofthecourtwhere theappealwasfiled:


            Docketorcasenumber(ifyouknow):
            Dateofthe court'sdecision'
                                     .
            Result(attachacopy ofthecourt'sopinion ororder,ifavailable):


            (7) 1/youranswertoQuestion(c)(4)orQuestion(c)(5)is$ûNo,''explainwhyyoudidnotappealorraisethis
            issue:




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       (a) Supporting facts(Donotargtleorcitelaw.Juststatethespecifcfactsthatsupportyourclaim.):
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       (b)DirectAppealofGroundTwo:
           (1) lfyOuagpealedfrom thejudgmentofconviction,didyotlraisethisissue?
                     Yes           No




           (2) Ifyoudidnotraisethisissueinyourdirectappeal,explainwhy:


       (c) Post-convictionProceedings:
           (1) Didyouraisethisissueinany post-convictionmotion,petition,orapplication?
                     Yes           No
     Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 6 of 14 Pageid#: 14039


AO 243(Rev.01/15)                                                                                         Page7
            (2) IfyouanswertoQuestion(c)(1)isâ'Yes,''state:
            Typeofmotion'orpetition:
            Nameand Iocation ofthecourtwherethemotion orpetition wasfiled:
                                                                                                          *:

            Docketorcasenumber(ifyouknow):
            Dateofthecourt'sdecision:
            Result(attachaco
                           'py ofthecourt'sopinionororder,ifavailablel:



            (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                     Yes        No
            (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                     ves -1     xo
            (5) lfyouranswertoQuestion(c)(4)is$tYes,''didyouraisetheissueintheappeal?
                     Yes        No
            (6) lfyotlranswertoQuestion(c)(4)is$tYes,''state'
                                                            .
            Nameand location ofthecour'twhere theappealwasfiled:


            Docketorcasenumber(ifyotlknow):
            Dateofthecourt'sdecision:
            Result(attachacopy ofthecourt'sopinionororder,ifavailable):



            (7) IfyotlranswertoQtlestion(c)(4)orQuestion(c)(5)istûNo,''explainwhy youdidnotappealorraisethis
            issue:




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       (a) Suppoéingfacts(Donotargtleorcitelaw.Juststatethespecificfactsthatsupportyourclaim.):
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    Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 7 of 14 Pageid#: 14040


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       (b) DirectAppealofGroundThree:
               Ifyouappealedfrom thejudgmentofconviction,didyouraisethisissue?
                       Yes           No
            (2) lfyoudidnotraisethisissueinyourdirectappeal,explainwhy:



       (c) Post-conviction Proceedings:
                    Didyou raisethisissuein any post-conviction lnotion,petition,orapplication?
                       Yes           No
            (2) IfyotlanswertoQuestion(c)(1)is'tYes,''state:
            Typeofmotion orpetition'
                                   .
            Nameand location ofthecourtwherethemotionorpetition wasGled:


            Docketrorcasenumber(ifyouknow):
            Date ofthecourt'sdecision:
            Result(attach a conv ofthecotlrt'soninion ororder.ifavailable):



            (3) Didyoureceiveahearing onyourlnotion,petition,orapplication?
                       Yes           No
            (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                       Yes           No
            (5) IfyouranswertoQtlestion(c)(4)is1tYes,''didyotlraisetheissueintheappeal?
                       Yes           No


            (6) lfyouranswertoQuestion(c)(4)isttYes,''state:
            Nameand location ofthecourtwhere theaooealwasfiled:


            Dockrtorcasenumber(ifyouknow): '
            Date ofthecourt'sdecision:'
            Result(alach acopy ofthecourt'sopinion ororder,ifavailable):
       Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 8 of 14 Pageid#: 14041


Ao243(Rev.01/!5)'                                                                                  Page9
   '
           (7) IfyouranswertoQuestion(c)(4)orQuestion(c)(5)istçNo,''explainwhyyoudidnotappealorraisethis
           issue:




GROUND FOUR :

        (a) Supportingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatsupportyourclaima
                                                                                             ):




        (b) Dired AppealofGroundFour:
            (1) Ifyouappealedfrom thejtldgmentofconviction,didyouraisethisisstle?
                    Y es        No
           (2) Ifyoudidnotraisethisissueinyotlrdirectappeal,explainwhy:


        (c) Post-conviction Proceedings:
            (1) Didyouraisethisissueinanypost-convictionmotion,petition,orapplication?
                    Yes         No

                                        $
           (2) IfyouanswertoQuestion(c)(1)is!;Yes,''state:
           Typeofm otion orpetition:
           N ameand location ofthecourtwherethem otion orpetition wasfiled:


           Docketorcasenumber(ifyouknowl:
           Dateofthecourt'sdecision:
           Result(attachacopy ofthecourt'sopinionororder,ifavailable):
     Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 9 of 14 Pageid#: 14042


AO 24J(Rcv.0i/15)                                                                                             Pagel0
            (3) Didyoureceiveahearingonyourmotion,petition,orapplication?
                     Yes        No
           (4) Didyouappealfrom thedenialofyourmotion,petition,orapplication?
                     Yes        No
           (5) IfyouranswertoQuestion(c)(4)is:$Yes,''didyouraisetheissueintheappeal?
                     Yes        No
            (6) Ifyouranswerto Question(c)(4)is'çYes,''state:
           Nameand location ofthecourtwheretheappealwasGled:

            Docketorcasenumber(ifyouknow):
            Dateofthecourt'sdecision'
                                    .                                                            .


            Result(attachacopy ofthecourt'sopinion ororder,ifavailable):


            (7) IfyouranswertoQtlestion(c)(4)orQtlestion(c)(5)is:tNo,''explainwhyyoudidnotappealorraisethis
            issue:




       Is thereany ground inthismotionthatyou havenotpreviously presented in some federalcourt? Ifso,which
       groundorgroundshavenotbeenpresented,andstateyourreasonsfornotpresentingthem:VU




       Doyouhaveanymotion,petition,orappealnow pending(filedand notdecidedyet)inanycourtforthe
       youarechallenging?          Yes             No
       IftûYes,''statethe name and Iocation ofthe court,the docketorcasenumber,thetype ofproceeding,and the
       issuesraised.
    Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 10 of 14 Pageid#: 14043


AO 243(Rev.01/15)
 15. Givethenameand address,ifknown,ofeach attorney who represented you in thefollowing stagesofthe
     you arechallenging:
       (a) Atthepreliminaryhearing:
                            ''
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       (b) Atthearraignmentandplea:                                                           .
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       (c) Atthetrial:

       (d)Atsentencing:
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       (e)7Onappeal:

       (9 Inanypost-convictionproceeding'
                                        .

       (g)Onappealfrom anyruling againstyouinapost-convictionproceeding:



       W ereyou sentenced on m orethan one courtofan indictlnent,oron m ore thanone indictment,in thesame cour't
       and atthe sametime?           Yes          No

       Doyouhaveany ftlturesentencetoserveafter otlcompletethesentenceforthejudgmentthatyouare
       challenging?           Yes           No
       (a) lfso,givenameandlocationofcoul'
                                         tthatimposedtheothersentenceyotlwillserveinthefuture:



       (b) Givethedatetheothersentencewasimposed:
       (c) Givethelengthoftheothersentence:                                      '
       (d) Haveyoufiled,ordoyouplantofile,any motion,petition,orapplicationthatchallengesthejudgmentor
       sentenceto beserved in theftlture?        Yes           No


 18. TIMELINESSOF MOTION:Ifyourjtldgmentofconviction becamefinaloveroneyearago,yotlmustexplain
     whytheone-yearstattlteoflimitationsascontainedin28U.S.C.j2255doesnotbaryourmotion.l
    Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 11 of 14 Pageid#: 14044


AO 243(Rev.0l/15)                                                                                               Page 12




    *TheAntiterrorism andEffectiveDeathPenaltyActof1996(ttAEDPA'')ascontainedin28U.S.C.j2255,
    paragraph6,providesin partthat:
       A one-yearperiod oflim itation shéllapply to a motion underthissection.The Iim itation period shallrun
       from thelatestof-
            (1) thedateonwhichthejtldgmentofconvictionbecamefinal;
            (2) thedateonwhichtheimpedimenttomakingamotioncreatedbygovernmentalactioninviolationof
          the Constitution orIawsofthe United Statesisremoved,ifthe movantwasprevented froln making such a
        - motion by such governm entalaction;
            (3) thedateonwhichtherightassertedwasinitially recognizedby theSupremeCourt,ifthatrighthas
            been newty recognized by the SupremeCourtand maderetroactively applicableto caseson collateral
            review;or
            (4) thedateonwhichthefactssupportingtheclaim orclaimspresentedcouldhavebeendiscovered
            throughtheexerciseofduediligence.
    Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 12 of 14 Pageid#: 14045


AO 243(Rev,01/15)                                                                                         Page 13
Therefore.movantasksthatthe Courtcrantthe followina relief:

    .
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                                    x .
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orany otherrelieftowhich movantmay     entitled.




                                                              SignatureofAttorney (ifany)



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under28U.S.C.j2255wasplacedintheprisonmailingsystem on Q                     *     o      j)Ao              .
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lfthe person signingisnotmovant,staterelationshiptomovantand explain why movantisnotsigning thismotion.
      Case 1:18-cr-00025-JPJ Document 1099 Filed 04/23/20 Page 13 of 14 Pageid#: 14046

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